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 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY
 ---------------------------------------------------------------X
 STEVEN GOODMAN, Individually and on                            :
 Behalf of All Other Persons Similarly Situated,                :   CIVIL ACTION:
                                                                :
                                     Plaintiff,                 :
                                                                :   COMPLAINT AND
                   -against-                                    :   JURY DEMAND
                                                                :
 BURLINGTON COAT FACTORY                                        :
 WAREHOUSE CORPORATION,                                         :
 BURLINGTON COAT FACTORY                                        :
 INVESTMENT HOLDINGS, INC.,                                     :
 and BURLINGTON COAT FACTORY                                    :
 HOLDINGS, INC.,                                                :
                                     Defendants.                :
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                                           INTRODUCTION

           1.     This action is brought on behalf of all “assistant store managers” and

 individuals holding comparable positions with different titles employed by Burlington

 Coat Factory Warehouse Corporation, Burlington Coat Factory Investment Holdings,

 Inc., and Burlington Coat Factory Holdings, Inc. (“Defendants” or “Burlington”) within

 the United States. Burlington is nationwide retail department store chain which sells

 high-quality, branded apparel. Burlington has misclassified Plaintiff and other similarly

 situated employees as exempt under federal overtime laws and failed to pay them for all

 hours worked by them as well as overtime pay for hours above 40 in a workweek.

                                    NATURE OF THE ACTION

           2.     Plaintiff alleges on behalf of himself and other current and former assistant

 store managers and similarly situated current and former employees holding comparable

 positions with different titles, employed by Defendants in the United States, who elect to

 opt into this action pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 216(b)



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 (the “Collective Action Class”), that they are: (i) entitled to unpaid wages from Defendants

 for all hours worked by them as well as for overtime work for which they did not receive

 overtime premium pay, as required by law, and (ii) entitled to liquidated damages pursuant

 to the FLSA, 29 U.S.C. §§ 201 et seq.

                                 JURISDICTION AND VENUE

          3.     The Court has jurisdiction over Plaintiff’s FLSA claims pursuant to 29

 U.S.C. § 216 and 28 U.S.C. § 1331.

          4.     Upon information and belief, at least one member of the proposed class is a

 citizen of a state different from that of at least one Defendant.

          5.      Plaintiff’s claims involve matters of national or interstate interest.

          6.      Defendants are subject to personal jurisdiction in New Jersey.

          7.      Venue is proper in this district pursuant to 28 U.S.C. § 1391 as a

 substantial part of the events or omissions giving rise to the claims occurred in this District

 and because Defendants reside in this District.

          8.     This Court is empowered to issue a declaratory judgment pursuant to 28

 U.S.C. §§ 2201 and 2202.

                                          THE PARTIES

          9.     Plaintiff, Steven Goodman, was, at all relevant times, an adult individual,

 residing in Boca Raton, Palm Beach County, Florida.

          10.    Plaintiff Goodman was employed by Defendants from in or about August

 2005 until August 2010, as an assistant store manager at Defendants’ stores located in

 Hallandale and Coral Springs, Florida.




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          11.   Plaintiff worked in excess of forty (40) hours per workweek, without

 receiving wages from Defendants for all hours worked, as well as overtime compensation

 as required by federal laws.

         12.     Upon information and belief, Defendant Burlington Coat Factory

 Warehouse Corporation, a wholly owned subsidiary of Defendant Burlington Coat Factory

 Investment Holdings, Inc., is a Delaware corporation with its principal place of business at

 1830 Route 130, North Burlington, New Jersey 08016. Defendant Burlington Coat Factory

 Warehouse Corporation operates approximately 460 stores that comprise the Burlington

 Coat Factory retail department store chain.

          13.   Upon information and belief, Defendant Burlington Coat Factory Investment

 Holdings, Inc., a wholly owned subsidiary of Defendant Burlington Coat Factory Holdings,

 Inc., is a Delaware corporation with its principal place of business at 1830 Route 130,

 North Burlington, New Jersey 08016.

          14.   Upon information and belief, Defendant Burlington Coat Factory Holdings,

 Inc. is a Delaware corporation with its principal place of business at 1830 Route 130, North

 Burlington, New Jersey 08016.

          15.   Defendants were and are doing business in New Jersey, including at their

 corporate headquarters located at 1830 Route 130, North Burlington, NJ 08016 and at their

 retail locations throughout the state of New Jersey.

                        COLLECTIVE ACTION ALLEGATIONS

          16.   Pursuant to 29 U.S.C. § 216(b), Plaintiff seeks to prosecute his FLSA claims

 as a collective action on behalf of all persons who are or were formerly employed by

 Defendants in the United States at any time since July 28, 2008 to the entry of judgment in




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 this case (the “Collective Action Period”) as assistant store managers and other comparable

 positions with different titles, who were non-exempt employees within the meaning of the

 FLSA, who did not receive compensation for all hours worked by them and did not receive

 any overtime (the “Collective Action Members”).

          17.   This Collective Action Class is so numerous that joinder of all members is

 impracticable. Although the precise number of such persons is not known to Plaintiff, the

 facts on which the calculation of that number can be based are presently within the sole

 control of Defendants. Upon information and belief, there are at least 250 members of the

 Collective Action class during the Collective Action Period, most of whom would not be

 likely to file individual suits because they lack adequate financial resources, access to

 attorneys or knowledge of their claims.

          18.   Plaintiff will fairly and adequately protect the interests of the Collective

 Action Members and has retained counsel that is experienced and competent in the fields of

 wage and hour law and class action litigation. Plaintiff has no interest that is contrary to or

 in conflict with those members of this collective action.

          19.   A collective action is superior to other available methods for the fair and

 efficient adjudication of this controversy, since joinder of all members is impracticable.

 Furthermore, inasmuch as the damages suffered by individual Collective Action Members

 may be relatively small, the expense and burden of individual litigation make it virtually

 impossible for the members of the collective action to individually seek redress for the

 wrongs done to them. There will be no difficulty in the management of this action as a

 collective action.




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          20.   Questions of law and fact common to the members of the collective action

 predominate over questions that may affect only individual members because Defendants

 have acted on grounds generally applicable to all members. Among the questions of law

 and fact common to Plaintiff and other Collective Action Members are:

                a. whether the Defendants employed the Collective Action Members

                    within the meaning of the FLSA;

                b. whether the Defendants misclassified the Collective Action Members as

                    exempt under the FLSA;

                c. what proof of hours worked is sufficient where the employer fails in its

                    duty to maintain time records;

                d. whether Defendants failed to pay the Collective Action Members for all

                    of the hours worked by them as well as overtime compensation for hours

                    worked in excess of forty hours per workweek, in violation of the FLSA

                    and the regulations promulgated thereunder;

                e. whether Defendants’ violations of the FLSA are willful as that term is

                    used within the context of the FLSA; and

                f. whether Defendants are liable for all damages claimed hereunder,

                    including but not limited to compensatory, punitive and statutory

                    damages, interest, costs and disbursements and attorneys’ fees;

          21.   Plaintiff knows of no difficulty that will be encountered in the management

 of this litigation that would preclude its maintenance as a collective action.




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                                  STATEMENT OF FACTS

           22.   Defendants operate retail department stores which sell high-quality, branded

 apparel throughout the United States and Puerto Rico, including within the State of New

 Jersey.

           23.   All of the work that Plaintiff and the Collective Action Members have

 performed has been assigned by Defendants, and/or Defendants are aware of all the work

 that they have performed.

           24.   Plaintiff’s principal duties included but were not limited to, building

 displays, stocking shelves, assisting customers, scanning prices, filling orders, unpacking

 merchandise, stacking merchandise, cleaning the store and unloading trucks.

           25.   Plaintiff’s duties did not include the hiring and firing of employees and they

 had none or little input into hiring or firing decisions.

           26.   Plaintiff’s work was performed for the benefit of the Defendants, in the

 normal course of the Defendants’ business and was integrated into the business of the

 Defendants.

           27.   The work performed by Plaintiff required little skill and no capital

 investment.     His duties did not principally include managerial responsibilities or the

 exercise of independent judgment. Rather, they involved many non-managerial duties

 identical to those performed by non-exempt employees entitled to overtime.

           28.   Plaintiff was required to work in excess of 40 hours a week, yet the

 Defendants willfully failed to pay Plaintiff for all hours worked by him, as well as overtime

 compensation of one and one-half times his regular rate of pay in violation of the applicable

 provisions of the FLSA, including statutory and regulatory authority. Upon information




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 and belief, it is Defendants’ uniform policy and procedure not to pay all similarly situated

 employees for all hours worked by them, as well as overtime compensation.

           29.   Upon information belief, throughout the Collective Action Period and

 continuing until today, Defendants have likewise employed other individuals, like the

 Plaintiff and the Collective Action Members in positions such as assistant store managers

 and other comparable positions with different titles, that require little skill and no capital

 investment and their duties and responsibilities do not principally include any managerial

 responsibilities or the exercise of independent judgment. They do not have the authority to

 hire or fire other employees, and they are not responsible for making hiring and firing

 recommendations.

           30.   Such individuals have worked in excess of 40 hours a week, yet Defendants

 have likewise willfully failed to pay them for all hours worked as well as overtime

 compensation of one and one-half times their regular rate of pay in violation of the FLSA

 and applicable provisions of statutory and regulatory authority. As stated, the exact number

 of such individuals is presently unknown, but within the sole knowledge of Defendants and

 can be ascertained through appropriate discovery.

           31.   Upon information and belief, throughout all relevant time periods, while

 Defendants employed Plaintiff and the Collective Action Members, Defendants failed to

 maintain accurate and sufficient time records.

                              FIRST CLAIM FOR RELIEF:
                             FAIR LABOR STANDARDS ACT

           32.   Plaintiff, on behalf of himself and all Collective Action Members, realleges

 and incorporates by reference paragraphs 1 through 31 as if they were set forth again

 herein.



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           33.   At all relevant times, Defendants have been and continue to be, employers

 engaged in interstate commerce and/or the production of goods for commerce, within the

 meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207(a).

           34.   At all relevant times, Defendants employed Plaintiff, and employed or

 continue to employ, each of the Collective Action Members within the meaning of the

 FLSA.

           35.   Upon information and belief, at all relevant times, Defendants have had

 gross revenues in excess of $500,000.

           36.   Plaintiff consents in writing to be a party to this action, pursuant to 29

 U.S.C. § 216(b).

           37.   At all relevant times, Defendants had a policy and practice of refusing to pay

 for all hours worked, as well as pay overtime compensation to their assistant store

 managers and similarly situated employees in comparable positions but having different

 titles, for hours worked in excess of forty hours per workweek.

           38.   As a result of Defendants’ willful failure to compensate their employees,

 including Plaintiff and the Collective Action members, at a rate not less than one and one-

 half times the regular rate of pay for work performed in excess of forty hours in a

 workweek, as well as for all hours worked by them, Defendants have violated and, continue

 to violate, the FLSA, 29 U.S.C. §§ 201 et seq., including 29 U.S.C. §§ 207(a)(1) and

 215(a).

           39.   As a result of Defendants’ failure to record, report, credit and/or compensate

 their employees, including Plaintiff and the Collective Action members, Defendants have

 failed to make, keep and preserve records with respect to each of their employees sufficient




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 to determine the wages, hours and other conditions and practices of employment in

 violation of the FLSA, 29 U.S.C. §§ 201, et seq., including 29 U.S.C. §§ 211(c) and 215(a).

         40.    The foregoing conduct, as alleged, constitutes a willful violation of the

 FLSA within the meaning 29 U.S.C. § 255(a).

         41.    Due to Defendants’ FLSA violations, Plaintiff, on behalf of himself and the

 Collective Action Members, is entitled to recover from Defendants, their unpaid wages for

 all of the hours worked by them, as overtime compensation, an additional, equal amount as

 liquidated damages for Defendants willful violations of the FLSA and for their

 unreasonably delayed payment of wages, reasonable attorneys’ fees, and costs and

 disbursements of this action, pursuant to 29 U.S.C. § 216(b).

                                  PRAYER FOR RELIEF

        Wherefore, Plaintiff, on behalf of himself and all other similarly situated Collective

 Action Members, respectfully request that this Court grant the following relief:

        a.      Designation of this action as a collective action on behalf of the Collective

                Action Members and prompt issuance of notice pursuant to 29 U.S.C. §

                216(b) to all similarly situated members of an FLSA Opt-In Class, apprising

                them of the pendency of the claims asserted in this action under Section

                216(b) of the FLSA, permitting them to assert timely Section 216(b) FLSA

                claims in this action by filing individual Consents to Sue pursuant to 29

                U.S.C. § 216(b) and appointing Plaintiff and his counsel to represent the

                Collective Action Members and tolling of the statue of limitations;

        b.      A declaratory judgment that the practices complained of herein in the First

                Claim for Relief are unlawful under the FLSA;




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         c.      An award of unpaid wages for all hours worked as well as overtime

                 compensation due under the FLSA; and

         d.      An award of statutory, liquidated and/or punitive damages as a result of the

                 Defendants’ willful failure to pay for all hours worked as well as overtime

                 compensation pursuant to 29 U.S.C. § 216.

         Wherefore, Plaintiff requests that this Court grant the following relief with regard to

  all of the Claims asserted herein:

         a.      An award of prejudgment and post-judgment interest;

         b.      An award of costs and expenses of this action together with reasonable

                 attorneys’ and expert fees; and

         c.      Such other and further relief as this Court deems just and proper.




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                              DEMAND FOR TRIAL BY JURY

         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a

  trial by jury on all questions of fact raised by this Complaint.

  Dated: Rye Brook, New York
         July 29, 2011

                                                 By:. /s Seth R. Lesser             .
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